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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-1556V
                                        UNPUBLISHED


    SHARYN HALL,                                            Chief Special Master Corcoran

                        Petitioner,                         Filed: May 7, 2021
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Jessica Olins, Maglio Christopher & Toale, PA, Washington, DC, for petitioner.

Ida Nassar, U.S. Department of Justice, Washington, DC, for respondent.


                                   RULING ON ENTITLEMENT 1

      On October 7, 2019, Sharyn Hall filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a left shoulder injury as a result of her
October 5, 2017 influneza (“flu”) vaccination. Petition at 1, 4. The case was assigned to
the Special Processing Unit of the Office of Special Masters.

       On April 30, 2021, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case for a Table injury – Shoulder Injury
Related to Vaccine Administration (SIRVA). Respondent’s Rule 4(c) Report at 1.


1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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Specifically, Respondent indicates that

       [m]edical personnel at the Division of Injury Compensation Programs,
       Department of Health and Human Services (“DICP”) have reviewed the
       petition and medical records filed in this case. It is respondent’s position that
       petitioner has satisfied the criteria set forth in the Vaccine Injury Table
       (“Table”) and the Qualifications and Aids to Interpretation (“QAI”). That is,
       petitioner had no relevant history of pain, inflammation, or dysfunction in her
       left shoulder; her pain and reduced range of motion occurred within 48
       hours of receipt of an intramuscular vaccination; her symptoms were limited
       to the shoulder in which the vaccine was administered; and no other
       condition or abnormality was identified to explain her symptoms. 42 C.F.R.
       § 100.3(a), (c)(10).

Id. at 7.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                    s/Brian H. Corcoran
                                    Brian H. Corcoran
                                    Chief Special Master




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